                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:04CR104-W
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )
BRIAN JEROME WISE                            )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment against Brian

Jerome Wise only in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service and the United States Attorney's Office.

       IT IS SO ORDERED.

                                                 Signed: October 3, 2006




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